Case 1:20-cr-00055-MJT-ZJH          Document 384           Filed 02/01/22   Page 1 of 2 PageID #:
                                           2153



                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
                                                  § CASE NUMBER 1:20-CR-00055-TH
v.                                                §
                                                  §
                                                  §
TANNER JOHN JORGENSEN (6)                         §
                                                  §


          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the

 court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

 Defendant guilty on Count Twenty-Five of the Superseding Indictment filed against the

 Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Tanner John Jorgensen (6), is
Case 1:20-cr-00055-MJT-ZJH            Document 384        Filed 02/01/22       Page 2 of 2 PageID #:
                                             2154



 adjudged guilty as to Count Twenty-Five of the Superseding Indictment charging a violation of

 21 U.S.C. § 841(a)(1) - Possession with the Intent to Distribute or Dispense a Schedule I controlled

 substance..

        SIGNED this the 1 day of February, 2022.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
